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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

JANE DOE                                 :
             Plaintiff                   :
                                         :
v.                                       :      CIVIL ACTION NO.
                                         :      3-04-cv-1976 (JCH)
NORWALK COMMUNITY COLLEGE                :
ET AL                                    :
         Defendants                      :      MARCH 8, 2006

                         REFERRAL TO MAGISTRATE JUDGE

      This case is referred to Magistrate Judge Holly B. Fitzsimmons for the following
purpose:

             All purposes

             A ruling on all pretrial motions except dispositive motions

             To supervise discovery and resolve discovery disputes; and

       /    A ruling on the following motion(s) which are currently pending:
      Motion to Compel [Doc. No. 53]

             A Rule 26(f) Conference [See Dkt. ___ ]

             A settlement conference. The pursuit of settlement negotiations, and
             a referral to a magistrate judge for purposes of a settlement
             conference, does not relieve the parties of their obligation to adhere
             to scheduling deadlines absent a court order to that effect.

SO ORDERED.

      Dated at Bridgeport, Connecticut this 8th day of March, 2006.




                                  /s/ Janet C. Hall
                                  Janet C. Hall
                                  United States District Judge
